      Case 2:25-cv-00241-BHS          Document 71-1       Filed 03/12/25     Page 1 of 5
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                                      ACTION MEMO

FOR: DARIN S. SELNICK, PERFORMING THE DUTIES OF THE UNDER SECRETARY
       OF DEFENSE FOR PERSONNEL AND READINESS

FROM: Tim Dill, Performing the Duties of the Assistant Secretary of Defense for Manpower
      and Reserve Affairs DILL.TIMOTHY. Digitally signed by
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SUBJECT: Implementing Guidance for Prioritizing Military Excellence and Readiness
         Executive Order (EO)

•   Purpose. Recommend you sign the memorandum at TAB A to implement EO 14183,
    “Prioritizing Military Excellence and Readiness,” January 27, 2025, consistent with SecDef
    guidance provided on February 7, 2025 (TAB B).

− Discussion

    − On January 27, 2025, President Trump issued Executive Order 14183 (TAB C), stating
      that “military service must be reserved for those mentally and physically fit for duty,”
      and that “[t]he Armed Forces must adhere to high mental and physical health standards to
      ensure our military can deploy, fight, and win, including in austere conditions and
      without the benefit of routine medical treatment or special provisions.

    − The EO states that “[i]t is the policy of the United States Government to establish high
      standards for troop readiness, lethality, cohesion, honesty, humility, uniformity, and
      integrity. This policy is inconsistent with the medical, surgical, and mental health
      constraints on individuals with gender dysphoria.” The EO then instructs SecDef to issue
      guidance and actions in light of the EO within 30-60 days.

    − The EO further adopts the definitions in EO 14168, “Defending Women from Gender
      Ideology Extremism and Resorting Biological Truth to the Federal Government,” January
      20, 2025 (TAB D), including that ‘“sex’ shall refer to an individual’s immutable
      biological classification as either male or female.” As directed by EO 14168, the
      Department of Health and Human Services has issued further guidance on the definitions
      of “male” and “female.”

    − SecDef issued guidance to the Department on February 7, 2025, directing a pause for “all
      new accessions for individuals with a history of gender dysphoria” and a pause for “all
      unscheduled, scheduled, or planned medical procedures associated with affirming or
      facilitating a gender transition for Service members… .”

    − SecDef further authorized and directed you “to provide additional policy and
      implementation guidance… including guidance regarding service by Service members
      with a current diagnosis or history of gender dysphoria… .”

    − The memorandum at TAB A, among other actions:
Case 2:25-cv-00241-BHS       Document 71-1       Filed 03/12/25     Page 2 of 5




   o Cancels the following DoD issuances, policies, and memoranda:
     − DoD Instruction (DoDI) 1300.28, “In-Service Transition for Transgender
        Service Members,” April 30, 2021, as amended (TAB 1)

      − Defense Health Agency Procedural Instruction 6025.21, “Guidance for
        Gender-Affirming Health Care of Transgender and Gender-Diverse Active
        and Reserve Component Service Members,” May 12, 2023 (TAB 2)

      − Acting Assistant Secretary of Defense for Health Affairs Memorandum,
        “Guidance for Treatment of Gender Dysphoria for Active and Reserve
        Component Service Member,” July 29, 2016 (TAB 3)

      − Principal Deputy Assistant Secretary of Defense for Health Affairs
        Memorandum, “Guidance for Medical Care in Military Treatment Facilities
        for Service Members Diagnosed with Gender Dysphoria,” March 18, 2019
        (TAB 4)

   o Directs updates to the following DoD issuances, consistent with the
     memorandum:
     − DoDI 6130.03, Volume 1, “Medical Standards for Military Service:
        Appointment, Enlistment, or Induction,” May 6, 2018, as amended (TAB 5)

      − DoDI 6130.03, Volume 2, “Medical Standards for Military Service:
        Retention,” September 4, 2020, as amended (TAB 6)

      − DoDI 1327.06, “Leave and Liberty Policy and Procedures,” June 16, 2009, as
        amended (TAB 7)

      − DoDI 1322.22, “Military Service Academies,” September 24, 2015, as
        amended (TAB 8)

      − DoDI 1215.08, “Senior Reserve Officers’ Training Corps (ROTC) Programs,”
        January 19, 2017, as amended (TAB 9)

      − DoDI 6025.19, “Individual Medical Readiness Program,” July 13, 2022 (TAB
        10)

   o Establishes as DoD policy that “the medical, surgical, and mental health
     constraints on individuals with gender dysphoria or who have a current diagnosis
     or history of, or exhibit symptoms consistent with, gender dysphoria” are
     inconsistent with the “high standards for Service member readiness, lethality,
     cohesion, honesty, humility, uniformity, and integrity.”

   o Determines that “[i]ndividuals who have a current diagnosis or history of, or
     exhibit symptoms consistent with, gender dysphoria are no longer eligible for
  Case 2:25-cv-00241-BHS          Document 71-1       Filed 03/12/25      Page 3 of 5




          military service,” directs that “Service members who have a current diagnosis or
          history of, or exhibit symptoms consistent with, gender dysphoria will be
          processed for separation from military service…,” and prohibits their accession,
          all subject to certain exceptions.

       o Establishes that DoD only recognizes two sexes: male and female, and that these
         sexes are not changeable. It further requires all Service members to serve in
         accordance with their sex as defined in EO 14168, “Defending Women from
         Gender Ideology Extremism and Resorting Biological Truth to the Federal
         Government.”

       o Establishes clear requirements on pronoun usage when referring to Service
         members.

       o Prohibits the use of DoD funds to pay for Service members’ unscheduled,
         scheduled, or planned medical procedures associated with facilitating sex
         reassignment surgery, genital reconstruction surgery as treatment for gender
         dysphoria, or newly initiated cross-sex hormone therapy, subject to certain
         exceptions.

− This policy was informed through consideration of, among other things, the President and
  Secretary’s written direction, existing and prior DoD policy, and prior DoD studies and
  reviews of service by individuals with gender dysphoria, including a review of medical
  literature regarding the medical risks associated with presence and treatment of gender
  dysphoria. This consideration included:

       o SecDef Memorandum, “Military Service by Transgender Individuals,” February
         22, 2018, which “conclude[d] that there are substantial risks associated with
         allowing accession and retention of individuals with a history or diagnosis of
         gender dysphoria… .” This conclusion was informed by an extensive inquiry
         conducted by a panel of experts (TAB 11).

       o A 2021 review conducted by DoD’s Psychological Health Center of Excellence
         and the Accession Medical Standards Analysis and Research Activity which
         found that “rates of disability evaluation were estimated to be higher among
         [transgender] service members… .” (TAB 12) Additionally, this review found that
         nearly 40% of Service members with gender dysphoria in an observed cohort
         were non-deployable over a 24 month period. This level of non-deployability
         creates significant readiness risk and places additional burdens on Service
         members without gender dysphoria to meet requirements.

       o A 2025 medical literature review conducted by the Office of the Assistant
         Secretary of Defense for Health Affairs that included findings that “55% of
         transgender individuals experienced suicidal ideation and 29% attempted suicide
         in their lifetime,…[and] the suicide attempt rate is estimated to be 13 times higher
         among transgender individuals compared to their cisgender counterparts,”
      Case 2:25-cv-00241-BHS            Document 71-1        Filed 03/12/25     Page 4 of 5




                 “transgender individuals are approximately twice as likely to receive a psychiatric
                 diagnosis compared to cisgender individuals,” and that the strength of evidence on
                 transgender mental health and gender-affirming care is low to moderate (TAB
                 13).

           o A review of cost data by the Office of the Assistant Secretary of Defense for
             Health Affairs indicated that, between 2015 and 2024, DoD spent $52,084,407
             providing care to active duty Service members to treat gender dysphoria,
             including $15,233,158 for psychotherapy; $3,135,593 for hormone therapy, and
             $14,324,739 for surgical care.

   − While Service members with gender dysphoria volunteered to serve their country, the
     costs associated with their health care, coupled with the medical and readiness risks
     associated with their diagnosis and associated treatment that can limit their deployability,
     make continued service by such individuals incompatible with the Department’s rigorous
     standards and national security imperative to deliver a ready, deployable force.

RECOMMENDATION: Sign the memorandum at TAB A.

Attachments:

File Folder:
 TAB A         Performing the Duties of the Under Secretary of Defense for Personnel and
               Readiness, “Additional Guidance on Prioritizing Military Excellence and
               Readiness,” Memorandum for Signature
 TAB B         Secretary of Defense Memorandum, “Prioritizing Military Excellence and
               Readiness,” February 7, 2025
 TAB C         Executive Order 14183, “Prioritizing Military Excellence and Readiness,” January
               27, 2025
 TAB D         Executive Order 14168, “Defending Women from Gender Ideology Extremism and
               Restoring Biological Truth to the Federal Government,” January 20, 2025
 TAB E         Coord

Binder:

 TAB 1         DoDI 1300.28, “In-Service Transition for Transgender Service Members,” April
               30, 2021, as amended
 TAB 2         Defense Health Agency Procedural Instruction 6025.21, “Guidance for Gender-
               Affirming Health Care of Transgender and Gender-Diverse Active and Reserve
               Component Service Members,” May 12, 2023
 TAB 3         Acting Assistant Secretary of Defense for Health Affairs Memorandum, “Guidance
               for Treatment of Gender Dysphoria for Active and Reserve Component Service
               Member,” July 29, 2016
 TAB 4         Principal Deputy Assistant Secretary of Defense for Health Affairs Memorandum,
               “Guidance for Medical Care in Military Treatment Facilities for Service Members
               Diagnosed with Gender Dysphoria,” March 18, 2019
 TAB 5         DoD Instruction (DoDI) 6130.03, Volume 1, “Medical Standards for Military
               Service: Appointment, Enlistment, or Induction,” May 6, 2018, as amended
   Case 2:25-cv-00241-BHS         Document 71-1       Filed 03/12/25     Page 5 of 5



TAB 6    DoDI 6130.03, Volume 2, “Medical Standards for Military Service: Retention,”
         September 4, 2020, as amended
TAB 7    DoDI 1327.06, “Leave and Liberty Policy and Procedures,” June 16, 2009, as
         amended
TAB 8    DoDI 1322.22, “Military Service Academies,” September 24, 2015, as amended
TAB 9    DoDI 1215.08, “Senior Reserve Officers’ Training Corps (ROTC) Programs,”
         January 19, 2017, as amended
TAB 10   DoDI 6025.19, “Individual Medical Readiness Program,” July 13, 2022
TAB 11   Secretary of Defense Memorandum, “Military Service by Transgender
         Individuals,” February 22, 2018
TAB 12   Accession Medical Standards Analysis and Research Activity (AMSARA) Report,
         “Analysis of Medical Administrative Data on Transgender Service Members,” July
         14, 2021
TAB 13   Office of the Assistant Secretary of Defense for Health Affairs Literature Review:
         Level of Evidence for Gender-Affirming Treatments
